Case 18-23401 DOC 1 Filed 10/09/18 Page 1 of 10

Fill in this information to identify your case:
b United States Bankruptcy Cou for the: §
__ District of ' , l ,_:

: Case number (/rknown); Chapter you are filing under:

v Cl chapter 7 ; " 11

n g Cl Chapter11 cfr ` y s _'
n Chapteru 1 " '- l n t l n Check `fth`s 's an
d Ch t 13 ' '» ’ ~ ~` l l l
N, aper / amended ming
Ofricial Forrn 101 )XLH) 191/7 1¢’

‘W\D‘“/‘
Voluntary Petition for lndividuals Fi|ing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourself

1. Your full name

,/x
Write the name that is on your /N A/
government-issued picture 1‘§, gram //

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

identification (for example, Fi"S e First name
your drivel’s license or m PA

passport). Middle ame ' Middle name
Bring your picture v /‘.//t</Y]

identiEcation to your meeting '-as* name Last name

with the trustee.
Suffix(Sr., Jr., ll, lll) Suffix(Sr., Jr., ll, lll)

 

2. All other names you ]\j / A

 

 

 

 

 

 

have used in the last 8 First nam¢ Firsr name
years
|rrc|ude your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name

 

/
' /
3. Only the last 4 digits of
your Social Security XXX ' XX _ 5_ 7_ ..L l XXX - xx -

number or federal oR oR

individual Taxpayer

ldentification number 9XX _ XX ____ _ ___ _ 9 XX _ XX __ __ ___ ___
(lTlN)

 

 

 

Official Form 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 1

 

 

 

Debtor 1

Case 18-23401

Doc 1

     

Last Name

Case number (irknown)

 

Filed 10/09/18 Page 2 Of 10

 

4. Any business names
and Employer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

'P'l have not used any business names or Ele.

About Debtor 2 (Spouse Only in a Joint Case):

a l have not used any business names or Ele.

 

Business name

Business name

 

Business name

ETN"'

J_

Business name

§§

E_ii]

 

5. Where you live

cei mma/ea Qni

if Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street

wl U /‘l _
City State ZiP Code Clty State ZiP Code
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZiP Code City State ZiP Code
6. Why you are choosing Check one.' Check one:

this district to file for
bankruptcy

yover the last 180 days before filing this petition,
' l have lived in this district longer than in any
other district.

l;l l have another reason. Exp|ain.
(See 28 U.S.C. § 1408.)

 

 

 

 

a Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

m l have another reason. Exp|ain.
(See 28 U.SrC. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy

page 2

 

 

 

Case 18-23401 DOC 1 Filed 10/09/18 Page 3 Of 10

Debtor 1 @M QMJHA }(Qdal/} Case number (lfknowni

First Name " |Middle Name Last ame

 

m Tell the Court About Your Bankruptcy Case

7, The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under Cl Chapter7

Cl Chapter 11
El chapter 12

w€hapter 13

s. How you will pay the fee Cl i will pay the entire fee when l f"ile my petition, Please check with the clerk‘s office in your
local court for more details about how you may pay. Typlcally, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

 

Xi need to pay the fee in installments if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in /nsta/lments (Ochial Form 103A).

Cl i request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App/ication to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for KNQ
bankruptcy within the
last 8 years? a Yes. District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy _ Z`No
cases pending or being
filed by a spouse who is l;] Yes. Debtor Relationship to you
not f"mg thls ca_se w'th District When Case number, if known
yOU, Or by a bUSlneSS MM / DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number. if known
MM / DD / YYYY
11- D° _y°u rent your ‘é{\|o. Go to line 12.
res'de"°e? Cl Yes. Has your landlord obtained an eviction judgment against you?

El No. Go to iine 12.

CI Yes. Fill out initial Statement About an Eviction ..ludgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Forrri 101 Voluntary Petition for individuals Filing for Bankruptcy page 3

 

Case 18-23401 DOC 1 Filed 10/09/18 Page 4 Of 10

Dooo,oo /ISfitrd)i Qtn€r~ \hoc_)§gm_ easemo,…oo,

First Name ' Middle Name Last Name

M Report About Any Businesses You 0wn as a Sole Proprietor

 

12. Are you a sole proprietor WGO to pan 4_
of any fu||- or part-time
business? m Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

r oration, artnershi ,or
:|_cg. p p p Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

 

t° th'$ petiti°n' city state ziP code
Check the appropriate box to describe your business:
Cl Health Care Business (as defined in 11 U.S.C. § 101(27A))
cl Single Asset Real Estate (as denned in 11 U.S.C. § 101(51B))
El Stockbroker (as defined in 11 U.S.C. § 101(53A))
Ei commodity Broi<er (as denned in 11 u.s.c. § 101(6))
Cl None of the above
13_ Are you filing under /f you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
_ _ No. l am not hling under Chapter 11.
For a definition of small '
business debefi See El No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S~C- § 101(51|3)- the Bankruptcy Code.

El Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any “‘§éNo
property that poses or is
alleged to pose a threat n Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

p'°pe"y that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZiP Code

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

 

 

Case 18-23401 DOC 1 Filed 10/09/18 Page 5 Of 10

Debtor 1

 

First Name Middle Name

Last Name

Case number (irknewn)

w Exp|ain Your Efforts to Receive a Brief'ing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one.'

m | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l;\ l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but| do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to Hle this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
brienng before you filed for bankruptcy,

lf the court is satisfied with your reasons, you must
still receive a briehng within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

';l |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

cl Disability. le physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Fi|ing for

About Debtor 2 (Spouse On|y in a Joint Case):

You must check one:

L_.l | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Cl | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Ci i certify that i asked rcr credit counseiing
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case,

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

|:l l am not required to receive a briefing about
credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Cl Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

El Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must hle a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 

Case 18-23401

Debtor 1

   
 

DOC1 Filed 10/09/18 Page 6 Of 10

Case number (iri<nownl
Last Name

m Answer These Questions for Reporting Purposes

 

1s. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose."

Cl No. co to line 16b.

KYes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investmentl

Cl No. Go to line 160.
Cl Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

XNo. l am not filing under Chapter 7. Go to line 18.

D° you estimate that after El Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is

administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and m No
administrative expenses
are paid that funds will be n Yes
available for distribution
to unsecured creditors?
1s. How many creditors do §1-49 El 1,000-5,000 Cl 25,001-50,000
you estimate that you 50-99 E] 5,001-10,000 El 50,001-100,000
°We? Ei 100-199 Ei 10,001-25,000 Ei iviore than 100,000
Ci 200-999
1s. How much do you Cl $0-$50,000 E| $1,000,001-$10 million El $500,000,001-$1 billion

estimate your assets to
be worth?

Ci $50,001-$100,000
$100,001-$500,000
$500,001-$1 million

El $10,000,001-$50 million
Ei $50,000,001-$100 million
El $100,000,001-$500 million

El $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
Cl iviore than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Part 7: Sign Below

Foryou

El $0-$50,000

Ci $50,001-$100,000
$100,001-$500,000

Cl $500,001-$1 million

El $1,000,001-$10 million

Ei $10,000,001-$50 million
Ei $50,000,001-$100 million
Ei $100,000,001-$500 million

El $500,000,001-$1 billion

C] $1,000,000,001-$10 billion
D $10,000,000,001-$50 billion
Cl More than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correct.

lfl have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. § 152, 1341, 1519, and 3571.

    

Executed on

Signature of Debtor 1

 
 

X

 

Executed on
MM/ DD /YYYY

MM / DD /YYYY

Signature of Debtor 2

 

Official Forrri 101

Voluntary Petition for individuals Filing for Bankruptcy

page 6

 

 

Case 18-23401 DOC 1 Filed 10/09/18 Page 7 Of 10

irst Name

/Midd|e Name

t Case number (irknown)
L am€

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

The law allows you, as an individual, to represent yourself irl bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens you could lose your right to file another
case, or you may lose protections including the benefit of the automatic stay.

You must list ali your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourse|f. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federa| Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

uNo

y Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

Cl o

r Yes

Did ou pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
2 N

0

Cl Yes. Name of Person .
Attach Bankruptcy Petition Preparefs Notice, Declaratlon, and Signature (Ofiicial Form 119).

 

By signing here, | acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that hling a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case,

    

 

Signature of D bt Signature of Debtor 2
Date Date
MM / DD /YYYY MM/ DD /YYYY
Contact phone Contact phone

 

 

cell phone Hki/g amf / 702/2 cell phone

4 / C/ Email address

 

   
  

Email address

 

 

Voluntary Petition for individuals Fi|` g for Bankruptcy page 8

 

Case 18-23401 DOC 1 Filed 10/09/18 Page 8 Of 10

Fill in this information to identify your case:

 

Debtor 1 k
Middle Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

Last Name
District of <m_(%w/\LJ'

United States Bankruptcy Court for the:

  

Case number
(lf knowni

 

 

z El check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have C|aims Secured by Property

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do any creditors have claims secured by your property?
El No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
Yes. Fill in all of the information below.

m List Aii secured claims

 

Column A Column 8 Column C
2. List all secured ciaims. if a creditor has more than one secured claim, list the creditor separately Amounr or craim Varue or canaveral Unsecu,ed
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this portion
As much as possible, list the claims in alphabetical order according to the creditors name. Varueof¢°riagerai, claim if any

 
 
  

1 -e the property that secures the claim: $ ]`/ c 0 00 $M[$_K_

U{Oor/ /77//70:/0@ ,@/
6}14./1£91/)\4] IL/U cg/Dtb/

As of the date you fiie, the ciaim' is: Check all that appiy.

_ __ o n Contingent
ii gm vnb i § r in §DQ> x Unliquidated
City State lP Code -

n Disputed

 

 

 

 

 

Who owes the debt? Check one.
Debtor1 only

n Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

Nature of lien. Check all that apply.
An agreement you made (such as mortgage or secured
car loan)

cl Statutory lien (such as tax lien, mechanic’s lien)

m Judgment lien from a lawsuit

 

 

 

 

Creditors Name

other (including a right to offset) 'O
n Check if this claim relates t a
community debt 5
Date debt was incurred Last 4 digits of account number Qr$
_2`-2-| Describe the property that secures the claim: $ $

 

 

 

Number Street

 

 

 

 

 

City State ZiP Code

Who owes the debt? Check one.

m Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.
n Contingent

n Unliquidated

m Disputed

Nature of iien. Check all that apply.

m An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s lien)
Judgment lien from a lawsuit

Other (including a right to offset)

UUU

Last 4 digits of account number _

 

 

Official Form 106D

Add the dollar value of your entries in Column A on this page. Write that number here:

Schedule D: Creditors Who Have C|aims Secured by Property

laww" ”' l

page 1 of _l_

 

 

 

Case 18-23401 DOC 1 Fi|eCl 10/09/18 Page 9 Of 10

United States Bankruptcy Court

District of Maryland
In Re: 61 MHV % L/MSO/] Case Number:
Debtor(s) Chapter: /j

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best oftheir
knowledge

Date: /d/Q/OZO/g/ Signature ofDebtor(s): ;:; /@M /g Ww/)

Case 18-23401 DOC 1 Filed 10/09/18 Page 10 Of 10

matrix.txt
We11s Fargo home mortage
P 0 box 10335
des Moines, IA 50306

Page 1

 

